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9
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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. 20-mj-1341

14              Plaintiff,                    STIPULATION FOR CONTINUANCE OF
                                              PRELIMINARY HEARING DATE
15                    v.
                                              CURRENT HEARING DATE: 05/22/2020
16   KEITH LAWRENCE MIDDLEBROOK,              PROPOSED HEARING DATE: 06/26/2020
17              Defendant.

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19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Valerie L.
22   Makarewicz and James C. Hughes, and defendant KEITH LAWRENCE
23   MIDDLEBROOK (“defendant”), by and through his counsel of record,
24   Deputy Federal Public Defender Ijeoma Eke, hereby stipulate as
25   follows:
26         1.   On March 25, 2020, the United States filed a complaint
27   against defendant charging him with a violation of 18 U.S.C. § 1349,
28   attempted wire fraud.     A warrant for defendant’s arrest was issued by
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1    the Hon. John E. McDermott at approximately 4:00 p.m. on March 25,

2    2020.

3          2.    Defendant was arrested on March 25, 2020 at approximately

4    6:00 p.m., and made his initial appearance before the Court on March

5    26, 2020.    CR 4. On March 27, 2020, the Court granted defendant

6    pretrial release upon the posting of a $150,000 bond secured by any

7    affidavit of surety signed by defendant’s mother, with $50,000 of

8    that amount to be secured by real property held by defendant’s

9    mother. CR 10.    At the time of this stipulation, defendant has not

10   posted the bond and remains in custody, however, on May 5, 2020, the

11   parties filed a stipulation to modify defendant’s bond order.            CR 29.

12         3.    At the initial appearance on March 26, 2020, the Court set

13   a preliminary hearing date in this case for April 9, 2020, pursuant

14   to Fed. R. Crim. P. 5.1(c).      CR 5.

15               a.   Rule 5.1(c) of the Federal Rules of Criminal Procedure

16   provides that a magistrate judge must hold the preliminary hearing

17   within a reasonable time, but no later than 14 days after the initial

18   appearance if the defendant is in custody and no later than 21 days

19   if not in custody.

20               b.   The time can be extended.       Rule 5.1(d) of the Federal

21   Rules of Criminal Procedure provides as follows: “With the

22   defendant's consent and upon a showing of good cause -- taking into

23   account the public interest in the prompt disposition of criminal

24   cases -- a magistrate judge may extend the time limits in Rule 5.1(c)

25   one or more times.”

26         4.    On March 13, 2020, following the President’s declaration of

27   a national emergency in response to COVID-19, the Court entered a

28   General Order suspending jury selection and jury trials scheduled to

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1    begin before April 13, 2020.       C.D. Cal. General Order No. 20-02, In

2    Re: Coronavirus Public Emergency, Order Concerning Jury Trials and

3    Other Proceedings (March 13, 2020).        The same day, the Court entered

4    another General Order imposing health- and travel-related limitations

5    on access to Court facilities.       C.D. Cal. General Order No. 20-03, In

6    Re: Coronavirus Public Emergency, Order Concerning Access to Court

7    Facilities (March 13, 2020).       On March 19, 2020, by Order of the

8    Chief Judge, the Court instituted its Continuity of Operations Plan

9    (“COOP”), closing all Central District of California courthouses to

10   the public (except for hearings on criminal duty matters) and taking

11   other emergency actions.      C.D. Cal. Order of the Chief Judge No. 20-

12   042 (March 19, 2020).     On March 29 and 31, recognizing COVID-19’s

13   continued spread in the community, the Court took further action:

14   implementing video-teleconference and telephonic hearings, and

15   suspending all grand-jury proceedings until May 4, 2020.           C.D. Cal.

16   Orders of the Chief Judge Nos. 20-043 (March 29, 2020) and 20-044

17   (March 31, 2020).     The Court has since extended these orders through

18   June 1, 2020.    See General Order No. 20-05.

19         5.   These orders were imposed based on (1) the California

20   Governor’s declaration of a public-health emergency in response to

21   the spread of COVID-19, as well as (2) the Centers for Disease

22   Control’s advice regarding reducing the possibility of exposure to

23   the virus and slowing the spread of the disease.          See General Order

24   20-02, at 1.    The Chief Judge has recognized that all gatherings

25   should be limited to no more than 10 people and elderly and other

26   vulnerable people should avoid person-to-person contact altogether.

27   See Order of the Chief Judge No. 20-042, at 1-2.

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1          6.     A grand jury was last called into session in the Central

2    District of California on March 25, 2020 and adjourned on such day at

3    approximate 4:30 p.m., before defendant was arrested at 6:00 p.m.              No

4    grand jury been has called into session in the Central District of

5    California after March 25, 2020.

6          7.     As noted above, in order to protect public health and

7    reduce the size of public gatherings and unnecessary travel, the

8    Chief Judge of the Central District of California has suspended grand

9    juries in the Central District of California until June 1, 2020,

10   pending further Order of the Court.

11         8.     On April 7, 2020, the parties stipulated to continue the

12   preliminary hearing originally set for April 9, 2020 to May 22, 2020.

13   CR 19.      On the same day, the Court granted the parties’ stipulation

14   and continued defendant’s preliminary hearing.          CR 21.

15         9.     By this stipulation, the parties move to continue

16   defendant’s preliminary hearing date, pursuant to Fed. R. Crim. P.

17   5.1, from May 22, 2020 to June 26, 2020.

18         10.    The parties request the continuance based upon the

19   following facts, which the parties believe demonstrate good cause to

20   support the appropriate findings under Fed. R. Crim. P. 5.1(d):

21                a.    Defendant is currently charged with a violation of 18

22   U.S.C. § 1349 (attempted wire fraud).

23                b.    Counsel for both the government and defendant,

24   together with office personnel for both parties, have been instructed

25   by their supervisors     to telework to minimize personal contact to the

26   greatest extent possible.      Although the parties are working

27   diligently within these constraints, these restrictions and others

28   imposed by current public-health concerns make it unreasonable to

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1    expect adequate preparation for pretrial proceedings, including the

2    preliminary hearing currently scheduled for April 9, 2020, within the

3    time limits set by Fed. R. Crim. P. 5.1(c).

4               c.    Under these unusual circumstances, and given the

5    emergency procedures that have been implemented by the Court and the

6    parties to address the current COVID-19 pandemic, failure to continue

7    the preliminary hearing date is likely to deny all counsel reasonable

8    time necessary for effective preparation, taking into account the

9    exercise of due diligence.

10              d.    The COVID-19 pandemic, the emergency procedures

11   implemented by the Court to address it, and the teleworking

12   arrangements mandated by the United States Attorney’s Office and the

13   Office of the Federal Public Defender are extraordinary circumstances

14   justifying delay of the preliminary hearing beyond the time limits of

15   Federal Rule of Criminal Procedure 5.1(c).

16              e.    On May 5, 2020, counsel for defendant has discussed

17   the continuance of the preliminary hearing with the defendant and

18   have no objection.

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1          11.   Accordingly, the parties stipulate and agree, and request

2    that the Court find that, for good cause shown, the Preliminary

3    Hearing currently set for May 22, 2020, should be continued to June

4    26, 2020.

5          IT IS SO STIPULATED.
6     Dated:     5/5/2020                 Respectfully submitted,

7                                         NICOLA T. HANNA
                                          United States Attorney
8
                                          BRANDON D. FOX
9                                         Assistant United States Attorney
                                          Chief, Criminal Division
10

11
                                          VALERIE L. MAKAREWICZ
12                                        JAMES C. HUGHES
                                          Assistant United States Attorneys
13
                                          Attorneys for Plaintiff
14                                        UNITED STATES OF AMERICA

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16
     Dated: 05/05/20                      IJEOMA EKE
17                                        Deputy Federal Public Defender
                                          Attorney for Defendant
18                                        KEITH LAWRENCE MIDDLEBROOK
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